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                                         UNITED STATES DISTRICT COURT
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                                    SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         )     Civil No.11cr1345 AJB
                                                       )
12                          Plaintiff,                 )
     v.                                                )     ORDER GRANTING DEFENDANTS
13                                                     )     MOTION TO RECONSIDER THE
     STEVE WARDA GORIA,                                )     DETENTION ORDER AND DENYING
14                                                     )     MODIFICATION OR THE SETTING OF
                            Defendants.                )     BAIL, WITHOUT PREJUDICE.
15                                                     )
16
17          On July 27, 2011, Defendant STEVE WARDA GORIA, through his counsel, moved the Court to
18   Reconsider it’s prior order of detention and set bail in this case. Mr. Goria is held without bail in this
19   case on the Court’s finding that Mr. Goria is a serious risk of flight and that no conditions or combina-
20   tion of conditions could be set to give the Court reasonable assurance that Mr. Goria will appear and that
21   the community would be safe. 18 U.S.C. § 3142 (g).
22          The Court found defendant a risk of flight following a hearing on April 29, 2011. The transcript
23   detailing ths Court’s finding is on file as Document No. 107. The April 29th hearing was in fact an
24   appeal of an order of detention issued by Magistrate Judge Bianchini following a hearing on April 14,
25   2011. (See, Doc. Nos. 35 and 65, respectively.)
26          In advance of this hearing, the defense filed transcripts from a San Diego Superior Court case
27   where Mr Goria is charged, with others, with a conspiracy involving a home invasion, including the use
28   of threats and firearms. (Doc. No. 138) This case, and it’s underlying facts, were part of the Govern-


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 1   ments case for detention. The transcript includes comments of a Judge of the San Diego Superior Court
 2   concerning the charges against Mr Goria following a preliminary hearing. Those comments question the
 3   strength of the case against Mr Goria, yet Mr Goria was bound over for trial on a finding of probable
 4   cause.
 5            This Court considered those comments, in their appropriate context, and re-weighed the balance
 6   of the evidence. The state charges were one of many factors supporting the preponderance of evidence
 7   in finding Mr Goria a flight risk and denying him bail. The charges and underlying factual predicates
 8   remain at issue and subject to trial in state court. Unlike an acquittal, the insights of the state judge, do
 9   not impact the weight of all the other evidence for detention such that bail should be set at this time.
10   Similarly, the fact that almost all of the other defendants in this case are on bail is irrelevant. Bail is an
11   individual consideration on a case by case basis. The charge and other factors specified by the Bail
12   Reform Act, 18 U.S.C. § 3141, et seq., must be individually applied to each defendant.
13            The analysis of this Court at the April 29, 2011 hearing, and the host of factors and evidence
14   detailed therein still warrant detention in this case. While new information was weighed, the outcome
15   remains the same, the Court finding that the Government has met its burden by a preponderance of the
16   evidence that defendant, STEVE WARDA GORIA, is a risk of flight and is subject to pretrial detention
17   in this case. As always, bail orders and orders of detention remain reviewable as new facts come to light
18   or changes occur. As such, this order is without prejudice to future requests to reconsider on new or
19   changed circumstances.
20            IT IS SO ORDERED.
21
22   DATED: July 28, 2011
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                                                             Hon. Anthony J. Battaglia
24                                                           U.S. District Judge
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